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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF ILLINOIS

 DWAYNE HILL,                                      )
                                                   )
              Plaintiff,                           )
                                                   )          Case No. 19-CV-6080
              v.                                   )
                                                   )          Judge Franklin U. Valderrama
 CITY OF CHICAGO, et al.,                          )
                                                   )
              Defendants.                          )          JURY TRIAL DEMANDED
                                                   )
                                                   )
 RICKEY FOUNTAIN,                                  )
                                                   )
              Plaintiff,                           )          Case No. 19-CV-6081
                                                   )
              v.                                   )          Judge Franklin U. Valderrama
                                                   )
 CITY OF CHICAGO, et al.,                          )
                                                   )          JURY TRIAL DEMANDED
              Defendants.                          )

                                   JOINT STATUS REPORT

       Per the Court’s Order (Dkt. No. 178), the parties provide the following joint status report:

       1.      On September 28, 2021, Chief Judge Pallmeyer granted the City’s motion to

compel the United States’ Attorney’s Office (the “USAO”) to produce grand jury materials and

documents related to the federal case United States v. Spann, Case No. 17-CR-611-1 (N.D. Ill.).

These documents are relevant to determining the extent of gang leader Labar Spann’s interference

in Plaintiffs’ criminal trials and the credibility of several key witnesses in this case. The parties

await Chief Judge Pallmeyer’s ruling following the USAO’s production of certain documents for

in camera review.

       2.      Plaintiffs requested that the City conduct a search for documents sufficient to show

the City’s coordination with federal authorities related to the Spann investigation and the City’s
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communications with the CCSAO regarding any case involving Labar Spann related to

manipulating, intimidating, coercing, and/or extorting witnesses. While the City maintained

objections that this request is overly broad, unduly burdensome, and subject to privacy and security

concerns, the City has produced documents identifying CPD personnel who may have

communicated with federal law enforcement or who may have provided testimony in connection

with the federal investigation U.S. v. Spann. The City continues to believe that narrowing the

scope of the request to target potentially relevant documents, including identifying relevant

individuals at the City, the CCSAO, and the USAO, will be more feasible after receiving the

documents relied upon by the federal government during grand jury proceedings and the criminal

trial against Labar Spann from the USAO. Plaintiffs received the documents discussed above on

the afternoon of January 10, 2022. Plaintiffs are in the process of reviewing these documents and

will confer further with the City about the status of this request.

        3.      The City agreed to search for the case and arrest reports that were created in

connection with the RD numbers for 21 cases in which Labar Spann was identified as a suspect,

as detailed in the parties’ previous joint status reports (Dkt. 175; Dkt. 177), and review and produce

responsive documents that involve the parties to this case or Labar Spann manipulating,

intimidating, coercing, or extorting witnesses. Since the parties’ previous joint status report, the

City completed its production of these responsive documents on March 1, 2022. Plaintiffs are in

the process of reviewing these documents and will confer further with the City about the status of

this request.

        4.      The parties have also taken the depositions of several third-party witnesses since

the last joint status report.




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Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I hereby certify that on April 11, 2022, the foregoing document was electronically filed

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to all counsel of record.



                                                   /s/    James P. Fieweger




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